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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                :
In re:                                                 Chapter 11
                                                :
QUIKSILVER, INC., et al.,         1             :      Case No. 15-11880 (BLS)
                                                :
                     Debtors.                   :      Jointly Administered
                                                :
                                                :      Hearing Date: March 31, 2016 at 10:30 a.m. (ET)
                                                :      Objection Deadline: March 28, 2016 at 4:00 p.m. (ET)
----------------------------------------------- x

    NOTICE OF FIRST AND FINAL APPLICATION OF PJT PARTNERS INC. AS
    INVESTMENT BANKER TO THE OFFICIAL OF COMMITTEE UNSECURED
     CREDITORS FOR ALLOWANCE OF COMPENSATION FOR NECESSARY
 SERVICES RENDERED AND FOR THE REIMBURSEMENT OF ALL ACTUAL AND
   NECESSARY EXPENSES INCURRED FOR THE PERIOD SEPTEMBER 29, 2015
                      THROUGH JANUARY 29, 2016


PLEASE TAKE NOTICE that, on March 7, 2016, the Official Committee of Unsecured
Creditors (the “Committee”) filed the First and Final Application of PJT Partners Inc. as
Investment Banker to the Official Committee of Unsecured Creditors for Allowance of
Compensation for Necessary Services Rendered and for the Reimbursement of All Actual
and Necessary Expenses Incurred for the Period September 29, 2015 through January 29,
2016 (the “Application”).

                PLEASE TAKE FURTHER NOTICE that any objection or response to the
Application must be (i) filed with the Clerk of the United States Bankruptcy Court for the
District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before
March 28, 2016 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”) and (ii) served so as
to be actually received no later than the Objection Deadline by the undersigned proposed counsel
to the Committee.

              PLEASE TAKE FURTHER NOTICE that a Hearing on the application is
scheduled for March 31, 2016 at 10:30 a.m. (Eastern Time) before the Honorable Brendan L.
Shannon, United States Bankruptcy Court for the District of Delaware, 824 Market Street,
Wilmington, Delaware 19801.


          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
(8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’ corporate
headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.




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          PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND TO
THE APPLICATION IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY
COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR OPPORTUNITY FOR A HEARING.


Dated: March 7, 2016                   PEPPER HAMILTON LLP
       Wilmington, Delaware

                                       /s/ John H. Schanne, II
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                                       David M. Fournier (DE No. 2812)
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                                               -AND-

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                                       Counsel to the Official Committee of Unsecured
                                       Creditors




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